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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA
VOICE OF THE EXPERIENCED, A CIVIL ACTION
MEMBERSHIP ORGANIZATION ON
BEHALF OF ITSELF AND ITS
MEMBERS, ET AL.
VERSUS
JAMES LEBLANC, ET AL. NO. 23-01304-BAJ-EWD

AMENDED SCHEDULING ORDER

IT IS ORDERED that the Court’s August 11, 2024, Order (Doc. 59) be and is
hereby AMENDED as follows:

1. The deadline to join other parties or to amend the pleadings is
EXPIRED.

2. Plaintiffs’ class certification motion due: July 12, 2024. Defendants’
response due: August 2, 2024.

3. Discovery must be completed by: August 9, 2024.

4. Class certification hearing date: August 12, 2024 at 10:00 A.M. in
Courtroom 2.

5. Deadline to file dispositive motions and Daubert motions: August 16,
2024.

6. Deadline to file pre-trial order: August 30, 2024.

7. Deadline to file motions in limine: August 80, 2024. Responses to
motions in limine due: September 13, 2024.

8. Deadline to file an affidavit of settlement efforts: September 20, 2024.

9. Pre-trial conference date: September 9, 2024 at 2:00 P.M. in
chambers.

10.Deadline to submit proposed findings of fact and conclusions of law:
September 23, 2024.

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11.A 5-day bench trial is set for September 30, 2024, beginning each day
at 8:30 A.M. in Courtroom 2.

The deadlines and stipulations set forth in this Order shall not be modified
except by leave of court upon a showing of good cause. Joint, agreed or unopposed
motions to extend scheduling order deadlines will not be granted automatically. All
motions to extend scheduling order deadlines must be supported by facts sufficient to
find good cause as required by Federal Rule of Civil Procedure 16. Further, a motion
to extend any deadline set by this Order must be filed before its expiration.

Parties are directed to consult the Middle District’s Administrative Procedures
which contains additional mandatory filing rules and procedures. The Administrative
Procedures are available for viewing and download on the court’s website
(http://www.lamd.uscourts.gov) under “E-Filing,” “CM/ECF Info,” “Administrative
Procedures.”

The parties may contact the Court at (225) 389-3584 should they wish to
schedule a settlement conference.

Baton Rouge, Louisiana, this 20 he of June, 2024

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JUDGE BRIAN A. fabixson
UNITED RIAN ACY TRICT COURT
MIDDLE DISTRICT OF LOUISIANA

